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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

    THE STATE OF ARIZONA,
    By and through its Attorney General, Mark
    Brnovich, et al.,

                                           PLAINTIFFS,

    v.                                                      CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW

    CENTERS FOR DISEASE CONTROL &
    PREVENTION; et al.,

                                        DEFENDANTS.


                                [Proposed] Temporary Restraining Order

           The Court has considered Plaintiff States’ Motion for a Temporary Restraining Order and to

   Compel Production of Information, and the Memorandum and exhibits attached thereto, and the

   applicable law. On the basis of these pleadings and papers, this Court hereby concludes that issuance

   of a temporary restraining order is warranted.

           Defendants are hereby restrained from taking any action that either (1) formally implements

   the Title 42 Termination or (2) has substantially similar effect. In particular, DHS is restrained from

   processing migrants from El Salvador, Guatemala, and Honduras under Title 8 based upon any lack

   of capacity in flights to those countries and shall therefore resume its prior practice of processing such

   migrants under Title 42 while this order is in effect.

           This temporary restraining order shall terminate in 14 days unless this Court takes action to

   dissolve or extend it before its expiration.

           In addition, Defendant DHS shall file no later than Sunday, April 23 at 5pm CDT, a

   declaration explaining any recent significant changes in its implementation of Title 42. That declaration

   should, at a minimum:
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         1) Identify and describe what actions, if any, it has taken to implement the Termination

            Order as a formal matter;

         2) Identify and describe what actions, if any, it has taken within the last month that would

            have substantially similar effect, including without limitation, any shift to processing aliens

            under Title 8;

         3) Identify and describe in detail any changes in policy with respect to immigrants from

            Northern Triangle Countries in the past month and produce all guidance documents,

            orders, etc., relating to the same, including any provided to DHS employees of any rank;

         4) Provide statistics for the number of migrants processed under Title 42 and Title 8 by

            country for each week over the past six months so that any meaningful changes in policy

            can be detected;

         5) Either (a) attest under oath that the agency has not taken any actions in the prior month

            that could be reasonably characterized as a partially implementing the Termination Order,

            no matter how styled or characterized or (b) explain and describe in detail any and all actions

            that a reasonable observer might characterize as having the same effect as early

            implementation of the Termination Order regardless of whether DHS itself believes those actions

            have that effect, specifically including any shift to processing under Title 8;

         6) Explain in detail whether a TRO that precluded DHS from taking any actions that

            (a) formally implement the Title 42 Termination before May 23 or (b) have substantially

            similar effect no matter how styled, would require DHS to make any changes to its current

            policies or policies that are set to go into effect before May 23, 2022; and

         7) To the extent that DHS might assert that recent policy changes are independent from the

            Termination Order, (a) attest under oath that the impending termination of Title 42 played




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               no role whatsoever in DHS’s decisions to implement the changes or (b) admit that the

               upcoming May 23 termination date played a role in the decisions and explain how in detail.

            No bond is required.

            IT IS FURTHER ORDERED that Defendants shall file with this Court and serve on

   Plaintiff States within ___ days from the date of entry of this Order a report in writing setting forth

   in detail the manner in which Defendants have complied with the terms of the temporary restraining

   order.

            Signed this ___ day of __________, 2022



                                                          __________________________________
                                                               ROBERT R. SUMMERHAYS
                                                            UNITED STATES DISTRICT JUDGE




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